                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

JACOB R. NIEVES,
          Plaintiff,
v.                                              Case No: 8:20-cv-2776-SCB-TGW

RADIUS GLOBAL SOLUTIONS, LLC,
          Defendant.
_______________________/

      AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

      1.    TRIAL: This case is scheduled for a jury trial in Tampa, Florida,
during the April 2022 trial calendar. The trial is estimated to last 1 day.

       2.     PRETRIAL CONFERENCE: A Pretrial Conference will be held
before the Honorable Susan C. Bucklew, United States District Judge, in
Courtroom 10B of the Sam M. Gibbons United States Courthouse, in Tampa,
Florida on March 9, 2022 at 8:30 a.m. The parties are directed to meet the pretrial
disclosure requirements and deadlines in Fed. R. Civ. P. 26(a)(3) and to adhere to
all requirements in Local Rule 3.06 concerning final pretrial procedures. The
parties must file a JOINT Pretrial Statement no later than 7 days before the date of
the Pretrial Conference. Failure to do so may result in the imposition of sanctions.
The Pretrial Conference must be attended by trial counsel who is vested with full
authority to make agreements touching on all matters pertaining to the trial.

       3.     ADDITIONAL PARTIES AND AMENDMENTS: The parties have
until April 1, 2021 to file Third Party Claims, Motions to Join Parties, and Motions
to Amend Pleadings.

      4.      DISCLOSURE OF EXPERT TESTIMONY: Plaintiff must
disclose the identity of any expert witnesses and expert reports by May 3, 2021.
Defendant must disclose the identity of any expert witnesses and expert reports by
June 3, 2021.

       5.     DISCOVERY CUTOFF: All discovery must be completed by the
parties on or before November 5, 2021.
        6.    MEDIATION: The parties must participate in court-annexed
mediation on October 5, 2021 with Gary Salzman. The mediation must be
attended by lead counsel, the parties or a party’s surrogate satisfactory to the
mediator, and any necessary insurance carrier representative. If a required person
fails to attend mediation without first obtaining the Court’s permission, the Court
may sanction the unexcused absence. The mediator must file a Mediation Report
within seven days after the mediation that indicates the result of the mediation and
whether all required persons attended. The substance of the mediation is
confidential and no party, lawyer, or other participant is bound by, may record, or
without the judge’s approval may disclose any event, including any statement
confirming or denying a fact — except settlement — that occurs during the
mediation.

       7.      DAUBERT MOTIONS: Daubert motions must be filed on or
before November 23, 2021. Responses thereto must be filed no later than 21 days
after the filing date of the motion.

       8.      DISPOSITIVE MOTIONS: Dispositive motions must be filed on or
before November 23, 2021. Responses thereto must be filed no later than 21 days
after the filing date of the motion. Replies, if any, must be filed no later than 14
days after the filing date of the response and must not exceed 7 pages. The
following procedures must be followed by the parties:

      (a) A party's claims or defenses for which summary judgment is sought
must be presented in a single motion with a legal memorandum. Multiple motions
for summary judgment will not be permitted.

       (b) Pursuant to Rule 56, Fed. R. Civ. P., as interpreted by the Eleventh
Circuit Court of Appeals, the parties are hereby put on notice that the Court will
take any motion for summary judgment and all materials in support or in
opposition thereto under advisement as of the last day for filings pertaining to the
motion for summary judgment, as that date is mandated by the rules of procedure
or by order of the Court. Failure to respond to a motion for summary
judgment will indicate there is no opposition to the motion and may result in
final judgment being entered without a trial or other proceeding.

     (c)     Generally, the Court will NOT hold a hearing or oral argument on the
motion.



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        9.    Motions to amend any pleading or to continue the pretrial conference,
trial or any other scheduled deadlines are distinctly disfavored after entry of the
Case Management and Scheduling Order.

      10. CONSENT TO TRIAL BY MAGISTRATE JUDGE: In
accordance with 28 U.S.C. 636(c) and Fed. R. Civ. P. 73, the parties may consent
to have the assigned United States Magistrate Judge conduct any or all further
proceedings in this case, including the trial.

      11. NOTICE OF RESOLUTION: Counsel must immediately notify
Chambers or the Courtroom Deputy Clerk if their case has settled or otherwise
resolved. (See Local Rule 3.09).

      DONE and ORDERED at Tampa, Florida, this 3rd day of September, 2021.




Copies to:   All parties & Counsel of Record




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